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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION


 JACK HUGHES and BARBARA HUGHES,

                          Plaintiffs,


 vs.                                             Case No.    2:04-cv-485-FtM-29DNF

 MATCHLESS METAL POLISH COMPANY,

                     Defendant.
 ___________________________________


                                 OPINION AND ORDER

       This matter comes before the Court on (1) Defendant Matchless

 Metal Polish Company’s Corrected Motion to Set Aside Settlement

 (Doc. #303) and (2) Defendant Matchless Metal Polish Company’s

 Motion for Sanctions Against Plaintiffs and Their Counsel Pursuant

 to Federal Rule of Civil Procedure 37 and the Court’s Inherent

 Power to Control the Proceedings Before it, To Revoke the Pro Hac

 Vice Admission of Plaintiff’s Counsel and For Costs and Fees

 Pursuant to 28 U.S.C. § 1927 (Doc. #313).                        Plaintiffs filed

 Responses (Docs. #317, 319), and defendant filed a Notice of Filing

 (Doc. #321).

       Both   motions     have      the   same    factual    predicate.        In   sum,

 defendant asserts that plaintiffs deliberately failed to include

 Dr.   Michael   Crowley,       a   treating      physician,      in   their   initial

 disclosures,    deliberately         failed      to   identify      Dr.    Crowley   in

 multiple     responses    to       interrogatories,        failed     to   supplement
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 discovery responses after claiming they had forgotten to disclose

 that Dr. Crowley had treated plaintiff Jack Hughes for smoking

 cessation    in   1998,    repeatedly    lied   under   oath   in   deposition

 regarding Jack Hughes’ smoking history, based their expert opinions

 on a false smoking history, and concealed information which would

 have enabled defendant to discover Jack Hughes’ smoking history.

 (Doc. #313, p. 2.)        The Court heard oral argument on September 17,

 2007.

                                         I.

       Plaintiffs Jack Hughes (Hughes) and his wife Barbara Hughes

 sued a number of defendants, including Matchless Metal Polish

 Company (Matchless Metal), in connection with Hughes’ lung cancer,

 discovered in 2002.       Plaintiffs’ theory was that Hughes contracted

 silica-related lung cancer as a result of his occupational exposure

 to silica in the course of self-employment as a jeweler from 1988

 to 2002. Hughes purchased and used bobbing and polishing compounds

 containing silica to cut and buff his jewelry.             Matchless Metals

 manufactured such a compound, which it sold to the three defendant

 distributors.      Plaintiffs’ Fourth Amended Complaint (Doc. #215)

 alleges claims of negligence, negligent failure to warn, strict

 products liability, and loss of consortium against Matchless Metal.

       Jack Hughes was a long-time smoker, and his smoking history

 was material and relevant to the claims and defenses in this

 litigation.



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       In September 2006, answers to interrogatories from Matchless

 Metal, plaintiffs identified six treating physicians and three

 hospital staffs in Florida which had provided relevant services.

 Plaintiffs stated “None” when asked to list the names and addresses

 of other physicians and medical facilities who examined or treated

 Hughes within the last ten years.

       In November 2006, plaintiffs made a Rule 26 First Supplemental

 Initial Disclosure listing six Florida physicians and three Florida

 hospital staffs as “treating physicians of Plaintiff [who] may

 testify concerning medical history and diagnosis, treatment and the

 necessity and reasonableness of the medical treatment and related

 charges.”

       During a November 2006, deposition Jack Hughes testified that

 he had been a smoker in his early 20s, but was “dead certain” (and

 later “pretty sure” he was dead certain) he stopped smoking when

 his wife was pregnant in 1985.       While medical records possessed by

 defendants indicated Hughes had stopped smoking in 1992, Hughes

 reiterated    that   he   had   stopped    smoking   when   his   wife   became

 pregnant.    When asked if he had “smoked at all since you quit?,”

 Hughes stated “No.” Hughes testified that he quit smoking by using

 smokeless tobacco and Nicorette gum. Hughes also testified that he

 did not remember telling medical providers he last smoked around

 1990; he stated it was not possible that he was smoking to some

 degree up until 1990, but that he might have been using smokeless

 tobacco in 1990.     He testified he used smokeless products for three

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 or four years after he stopped smoking.          Hughes testified that he

 did not believe that his diagnosis was in any way caused by his

 past smoking history because it had been so long since he smoked.

 Hughes testified that he had no memory problems.

       When   he   was   asked   who   first     prescribed   Prozac, Hughes

 testified it was “Dr. Crowl” in Easton, Maryland. Hughes testified

 that the first name was Richard “I think,” and later stated that

 the name was “Richard Crawley”.             Hughes could not remember the

 street where the doctor’s office was located, but described him as

 a general physician. When discussing whether he had ever spoken to

 a medical provider about the effects of smoking on the lungs, Jack

 Hughes testified that “I think Dr. Crawley may have” told him he

 shouldn’t smoke.        He further stated that “when I was seeing

 Crawley, he also prescribed Nicorette Gum and a particular type of

 antidepressant that was used at the time to help quit smoking.”

       In his January 2007 deposition, Jack Hughes again testified

 he stopped smoking when his son was born in 1985 or 1986.              When

 asked if he told Dr. Marcus in 2000 that he had quit smoking in

 1995, Hughes testified that he didn’t really smoke on a regular

 basis but might have said something like that if he would have

 smoked an occasional cigarette.        He further testified that he “may

 have” continued smoking from time to time after he quit.

       Hughes completed an errata sheet for his depositions on March

 6, 2007, making various changes to his testimony.            No change was



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 made concerning his continuation of smoking or Dr. “Crawley.”

 (Doc. #278.)

        Barbara Hughes testified by deposition in January 2007, that

 “I think” Jack Hughes quit smoking when she got pregnant with their

 son.    When asked if Jack Hughes resumed smoking after that, she

 said “I think maybe – I don’t know really.          I don’t know.    I think

 he used that stuff you put in your mouth.” . . . “I think that’s

 what he used though.        I don’t think he smoked.”     When asked “to the

 best of your recollection, did your husband resume smoking after

 the birth of your son?” she replied “I don’t think he did, no.              I

 don’t think he did.”          When asked if she was aware Jack Hughes

 smoked on occasion from 1985 to 1995, Barbara stated “I did not

 know that Jack smoked after about 1989, I guess.          And I don’t think

 he did.”   She further testified that she caught him with cigarettes

 once between 1985 to 1989.

        Plaintiffs’    two    experts   considered   and   relied   upon   Jack

 Hughes’ smoking history and the fact that he quit smoking in 1985

 in arriving at their opinions.

        By Court Order (Doc. #249), mediation was to be completed by

 June 29, 2007.       A mediation session was scheduled by counsel for

 June 13, 2007.         Prior to mediation, counsel for co-defendant

 American Tripoli, Inc. (who presently represents Matchless Metal),

 realized there was a gap in Jack Hughes medical records.             Counsel

 tasked a paralegal with the job of locating the missing Dr. Crawley

 and obtaining any available records. In due course Dr. Crawley was

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 determined to be Dr. Michael Crowley, and defense counsel issued a

 subpoena for his medical records of Jack Hughes.                   The medical

 records did not arrive prior to the mediation session.

       On June 13, 2007, the mediation session was held and most of

 the defendants, including Matchless Metals, settled the case.

 Plaintiffs and Matchless Metal’s attorney and insurer executed a

 written Mediation Settlement Agreement that day providing for

 payment   of   a   certain   sum   in    exchange   for   full   releases    and

 dismissal of the case with prejudice.          The agreement also provided

 a   confidentiality    provision.        The   Court   was   notified   of   the

 settlement on June 26, 2007, by a Mediators Report (Doc. #283) and

 on July 2, 2007 by a Notice of Settlement (Doc. #284) filed by

 plaintiffs.

       On or about July 3, 2007, defense counsel obtained the medical

 records from Dr. Crowley.          The records revealed that Dr. Crowley

 had treated Jack Hughes in Maryland from 1989 to 2000.               A January

 30, 1989 note states: “Needs refill for nicorette.”              A July 9, 1993

 note states “Jack Hughes wants Rx for Nicotene patches.              has never

 seen you about this before - needs appt.”           A December 16, 1998 note

 states: “He has not been here for many years, he is considering

 smoking cessation, and using Nocorette gum for the past 3 months,

 has not smoked in that length of time. . . . He wants to try to get

 away from the nicotine entirely and does think he can do it without

 help.”



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       On July 13, 2007, Matchless Metal filed a motion (Doc. #288)

 to extend the time in which to tender settlement proceeds and/or to

 set aside the settlement due to fraud.          Matchless Metal asserted

 that “[t]he case was settled on June 13, 2007. . .” but sought time

 to consider the impact of the newly obtained medical records.            The

 Court granted the motion (Doc. #291).

                                     II.

       Defendants argue there are three grounds to find pervasive

 fraud: (1) the failure to disclose Dr. Michael Crowley as a

 treating physician; (2) Jack Hughes’ false statements about when he

 last smoked; and (3) Barbara Hughes’ false testimony about the last

 time Jack Hughes smoked.         Matchless Metals seeks the following

 relief: (1) setting aside the settlement agreement; (2) dismissing

 the   case   with   prejudice;   (3)   imposing    fees   and   costs   upon

 plaintiffs and their counsel; and (4) revoking the pro hoc vice

 status of counsel.

       The fraud alleged in this case is what the courts refer to as

 “intrinsic” fraud.      Parker v. Parker, 950 So. 2d 388, 391 (Fla.

 2007)(“Intrinsic fraud . . . applies to fraudulent conduct that

 arises within a proceeding and pertains to the issues in the case

 that have been tried or could have been tried. . . . false

 testimony given in a proceeding is intrinsic fraud. . . . In

 essence, . . . intrinsic fraud is the presentation of misleading

 information on an issue before the court that was tried or could


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 have been tried.”)           There are a number of sources of the court’s

 authority to sanction a litigant for fraud or non-compliance with

 the rules of procedure.

        The Court has the inherent power to assess sanctions for a

 party’s bad-faith conduct, including setting aside judgments for

 fraud    on     the    court     and    imposing     attorney       fees    and    costs,

 independent of statutory or rule provisions.                       Chambers v. NASCO,

 Inc., 501 U.S. 32, 44-50 (1991); Amlong & Amlong, P.A. v. Denny’s,

 Inc., 457 F.3d 1180 (11th Cir. 2006), amended by                         F.3d       , 2006

 WL 4758983, 2006 U.S. App. LEXIS 32739 (11th Cir. Sept. 17, 2007).

 “There    is    no    question     that    a     trial    court    has     the    inherent

 authority, within the exercise of sound judicial discretion, to

 dismiss an action when a plaintiff has perpetrated a fraud on the

 court.”        Howard v. Risch, 959 So. 2d 308, 310 (Fla. 2d DCA

 2007)(citations        omitted).         Dismissal       because    of     discrepancies

 between a party’s discovery responses and the evidence developed by

 the opposing party in its investigation “should be made only on a

 clear showing of egregious conduct.”                Gehrmann v. City of Orlando,

       So. 2d         , 2007 WL 2403198, 2007 Fla. App. LEXIS 13248 (Fla.

 5th    DCA     Aug.    24,     2007).      Short     of    that,     “allegations      of

 inconsistency, non-disclosure, even falseness, can be brought to

 the jury’s attention through cross-examination or impeachment.”

 Id.




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       The Federal Rules of Civil Procedure also allow the court to

 deal with fraud, both generally and in specific contexts.                     “On

 motion and upon such terms as are just, the court may relieve a

 party . . . from a . . . proceeding for the following reasons: . .

 .     (3)   fraud    (whether      heretofore   denominated       intrinsic   or

 extrinsic), misrepresentation, or other misconduct of an adverse

 party; . . .”       FED . R. CIV . P. 60(b)(3).       To obtain relief under

 Rule 60(b)(3), the moving party must prove by clear and convincing

 evidence that the adverse party obtained the result through fraud,

 misrepresentations, or other misconduct, and must demonstrate that

 the conduct prevented it from fully presenting its case.                 Waddell

 v. Hendry County Sheriff’s Office, 329 F.3d 1300, 1309 (11th Cir.

 2003).

       The standard for imposing sanctions under Rule 11 for filing

 an unreasonable pleading or other paper is set forth in Anderson v.

 Smithfield Foods, Inc., 353 F.3d 912 (11th Cir. 2003), and many

 other    cases.     Rule   26(g)    provides    for   sanctions    for   conduct

 traceable to specific discovery abuses.           Chudasama v. Mazda Motor

 Corp., 123 F.3d 1353, 1373 n.45 (11th Cir. 1997).                   Rule 37(b)

 authorizes a district court to impose sanctions for failure to

 comply with discovery orders, so long as the sanctions are both

 just and specifically related to the particular claim which was at

 issue in the discovery order.         Insurance Corp. of Ireland, Ltd. v.

 Compagnie des Bauxites de Guinee, 456 U.S. 694 (1982); Serra

 Chevrolet, Inc. v. GMC, 446 F.3d 1137, 1147-51 (11th Cir. 2006).

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 Rule     41(b)   provides   a   trial   court   with   discretion   to   impose

 sanctions on a party who fails to adhere to court rules, but

 dismissal of a case with prejudice is a sanction of last resort,

 applicable only in extreme circumstances where there is a clear

 record of delay or willful conduct and a lesser sanction is

 inadequate to correct such conduct.             Zocaras v. Castro, 465 F.3d

 479, 483 (11th Cir. 2006).               Mere negligence or confusion is

 insufficient.      Id.

        The Court also has authority to impose sanctions on counsel

 personally pursuant to 28 U.S.C. § 1927.          The legal standards under

 § 1927 have been discussed in some length in Cordoba v. Dillards,

 Inc., 419 F.3d 1169, 1178 (11th Cir. 2005); Amlong, 2006 WL

 4758983, *6-7; and Hudson v. Int’l Computer Negotiations, Inc.,

   F.3d      , 2007 WL 2693505, 2007 U.S. App. LEXIS 22124 (11th Cir.

 Sept. 17, 2007).

                                         III.

        The Court concludes that the sanctions requested are not

 justified by the record, which the Court has carefully reviewed.

 It is clear that in response to the September 2006 interrogatories,

 Hughes should have disclosed Dr. Michael Crowley as a physician who

 had treated him within the past ten years.             It is clear, however,

 that at least at the time of Hughes’ deposition defense counsel

 were aware that Hughes had been seen by one or more physicians in

 Maryland prior to coming to Florida. Since plaintiffs’ disclosures

 only listed Florida physicians and medical providers, it was clear
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 that there had been omissions.               The Court’s reading of Hughes’

 depositions satisfies the Court that Hughes was not intentionally

 withholding the identity or falsely testifying as to his memory of

 Dr. Crowley.       Although he recalled the first name incorrectly, he

 was able to come up with the last name of “Crawley.”                     The Court has

 listened to the audio of the deposition provided by counsel, and it

 too   believes     that    counsel       spelled      “Crowley”      even    though     the

 transcript reports “Crawley.”

       Hughes’ deposition also places defense counsel on notice of

 potential     evidence      of     his     continued         smoking,       despite     his

 protestation to the contrary.               In addition to Hughes’ admission

 that he may have continued smoking from time to time after he quit,

 Hughes specifically stated that Dr. Crowley prescribed Nicorette

 Gum   and   an   antidepressant       used       to   help    quit    smoking.         This

 testimony placed all counsel on notice as to existence of another

 physician whose records had not been obtained and the potential

 that such records would contain evidence of continued smoking.

 Indeed,     this    caused       Matchless       Metal’s       current       counsel     to

 specifically seek and ultimately locate both Dr. Crowley and his

 medical records.          Defendant could have rejected the settlement

 offer until it had obtained and adequately explored the anticipated

 medical records.      E.g., Arrieta-Gimenez v. Arrieta-Negron, 551 So.

 2d 1184, 1186 (Fla. 1989).                The mediation cutoff date had not

 expired as of June 13, 2007, and counsel could have sought a

 continuance if necessary.            The decision to settle without first

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 obtaining     the     medical      records    was       reasonable,    even    if    now

 regretted.

       The   Court      is   also   not     convinced      that   either    plaintiffs

 provided false testimony.           Barbara Hughes clearly did not because

 her responses were her opinion as to what she thought were the

 facts regarding her husband’s continued smoking.                       While the new

 medical     records     contain     entries       which    may   undermine     Hughes’

 testimony of only occasional smoking after 1985, it is not a

 foregone conclusion based on the notation alone.                           “Generally,

 unless it appears that the process of trial has itself been

 subverted, factual inconsistencies or even false statements are

 well managed through the use of impeachment at trial or other

 traditional      discovery      sanctions,        not     through   dismissal       of   a

 possibly meritorious claim.”             Howard, 959 So. 2d at 311.

       While setting aside a settlement agreement is a less severe

 sanction    than    dismissal,       the    Court    concludes      that    even    that

 sanction    is   not    warranted     in     this   case.        The   Court   further

 concludes that the additional lesser sanctions requested, i.e., to

 revoke counsel’s pro hac vice admission status and attorney’s fees

 and costs, should also be denied.

       Accordingly, it is now

       ORDERED:

       1.     Defendant Matchless Metal Polish Company’s Corrected

 Motion to Set Aside Settlement (Doc. #303) is DENIED.


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       2.    Defendant Matchless Metal Polish Company’s Motion for

 Sanctions Against Plaintiffs and Their Counsel Pursuant to Federal

 Rule of Civil Procedure 37 and the Court’s Inherent Power to

 Control the Proceedings Before it, To Revoke the Pro Hac Vice

 Admission of Plaintiff’s Counsel and For Costs and Fees Pursuant to

 28 U.S.C. § 1927 (Doc. #313) is DENIED.

       3.    The Clerk shall cancel the trial date, terminate all

 pending    motions    as   moot   in     light   of   the   settlement,   and

 administratively close the case for a period of THIRTY (30) DAYS to

 allow the parties to submit a stipulation for dismissal of the

 case.

       DONE AND ORDERED at Fort Myers, Florida, this            24th   day of

 September, 2007.




 Copies:
 Counsel of record




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